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               6 Attorneys for Plaintiffs
                 NANO FOUNDATION, LTD. and
               7 COLIN LeMahieu
               8                              UNITED STATES DISTRICT COURT
               9                            CENTRAL DISTRICT OF CALIFORNIA
              10
              11 NANO FOUNDATION, LTD., a New                    Case No. 2:19-cv-04237 SVW (PJWx)
                 York non-profit corporation; and
              12 COLIN LeMAHIEU, an individual,                  PROOF OF SERVICE
              13                     Plaintiffs,
              14               vs.
              15 DAVID C. SILVER, an individual,
              16                     Defendant.
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LAW OFFICES
ROSENFELD,
 MEYER &
SUSMAN LLP
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                   520612.02                          PROOF OF SERVICE
        Case 2:19-cv-04237-SVW-PJW Document 30 Filed 07/16/19 Page 2 of 4 Page ID #:946



              1                  PROOF OF SERVICE BY OVERNIGHT DELIVERY
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              3 STATE OF CALIFORNIA
                                                       SS
              4 COUNTY OF LOS ANGELES
              5
                      I am employed in the County of Los Angeles, State of California. I am over
              6 the age of 18 and not a_party to the within action. My business address is 232 North
                Canon Drive, Beverly Hills, California 90210-5302.
              7
                      On July 16,2019, I served on interested parties in said action the within:
              8
              9        PLAINTIFFS NANO FOUNDATION, LTD. AND COLIN LEMAHIEU'S
                OPPOSITION TO DEFENDANT DAVID C. SILVER'S MOTION TO DISMISS
             10 COMPLAINT [FILED UNDER SEAL PURSUANT TO COURT ORDER DATED
                JULY 16, 2019J;
             11
                       DECLARATION OF RYAN M. LAPINE IN SUPPORT OF PLAINTIFFS
             12 NANO    FOUNDATION, LTD. AND COLIN LEMAHIEU'S OPPOSITION TO
                DEFENDANT DAVID C. SILVER'S MOTION TO DISMISS COMPLAINT
             13 rFILED UNDER SEAL PURSUANT TO COURT ORDER DATED JULY 16,
                2019];
             14
                       DECLARATION OF PETER SCOOLIDGE IN SUPPORT OF PLAINTIFFS
             15 NANO    FOUNDATION, LTD. AND COLIN LEMAHIEU'S OPPOSITION TO
                DEFENDANT DAVID C. SILVER'S MOTION TO DISMISS COMPLAINT
             16 rFILED UNDER SEAL PURSUANT TO COURT ORDER DATED JULY 16,
                2019];
             17
                       EXHIBIT A TO DECLARATION OF PETER SCOOLIDGE IN SUPPORT
             18 OF PLAINTIFFS   NANO FOUNDATION, LTD. AND COLIN LEMAHIEU'S
                OPPOSITION TO DEFENDANT DAVID C. SILVER'S MOTION TO DISMISS
             19 COMPLAINT [FILED UNDER SEAL PURSUANT TO COURT ORDER DATED
                JULY 16,2019];
             20
                       PLAINTIFFS NANO FOUNDATION, LTD. AND COLIN LEMAHIEU'S
             21 OPPOSITION   TO DEFENDANT DAVID C. SILVER'S SPECIAL MOTION TO
                STRIKE COMPLAINT PURSUANT TO CAL. CODE CIV. PROC. ~ 425.16
             22 rFILED UNDER SEAL PURSUANT TO COURT ORDER DATED JULY 16,
                2019];
             23
                       EXHIBIT B TO DECLARATION OF PETER SCOOLIDGE IN SUPPORT
             24 OF PLAINTIFFS   NANO FOUNDATION, LTD. AND COLIN LEMAHIEU'S
                OPPOSITION TO DEFENDANT DAVID C. SILVER'S SPECIAL MOTION TO
             25 STRIKE COMPLAINT PURSUANT TO CAL. CODE CIV. PROC. ~ 425.16
                WILED UNDER SEAL PURSUANT TO COURT ORDER DATED JULY 16,
             26 2019];  AND                  .

             27     PLAINTIFFS NANO FOUNDATION, LTD. AND COLIN LEMAHIEU'S
                OPPOSITION TO DEFENDANT DAVID C. SILVER'S MOTION FOR
             28 ATTORNEYS' FEES AND SANCTIONS PURSUANT TO FEDERAL RULE OF
LAWDFFICES
ROSENFELD,
 MEYER &
SUSMAN LLP        15918-001000
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                  520612.02                       PROOF OF SERVICE
         Case 2:19-cv-04237-SVW-PJW Document 30 Filed 07/16/19 Page 3 of 4 Page ID #:947



               1 CIVIL PROCEDURE 11 AGAINST: (1) PLAINTIFFS NANO FOUNDATION,
                 LTD. AND COLIN LEMAHIEU AND (2) RYAN M.
               2 LAPINE, ESQ., JOSHUA H. HERR, ESQ., AND PIERC~ ROSENFELD,
                 MEYER & SDSMAN, LLP rFILED UNDER SEAL PUR~UANT TO COURT
               3 ORDER DATED JULY 16, ~019]
               4 by depositing in a box or other facility regularly maintained by Federal Express, an
                 express servIce carrier, or delivering to a courier or driver authorized by Said express
               5 service carrier to receive documents, at Beverly Hills, California, a true copy of~the
                 foregoing document in sealed envelopes or packages designated by the express
               6 serVIce carrier, addressed as stated on the attached mailing list, with fees for
                 overn}ght delivery pftid or p'rovided for and causing such envelope(s) to be delivered
               7 by Said express servIce carrIer.
               8             Executed on July 16,2019, at Beverly Hills, California.
               9       I declare under penalty of perjury that I am employed in the office of a
                 member of the bar of this Court at whose direction the service was made and that the
              10 foregoing is true and correct.
              11
                          DESIREE MANYWEATHER
              12             (Type or print name)
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LAW OFFICES
ROSENFELD,
 MEYER &
SUSMAN LLP         15918-001000
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                   520612.02                            PROOF OF SERVICE
         Case 2:19-cv-04237-SVW-PJW Document 30 Filed 07/16/19 Page 4 of 4 Page ID #:948



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                       NANO FOUNDATION, LTD., a New York non-profit corporation; and COLIN
               2            LeMAHIEU, an individual, v. DA VID C. SIL VER, an individual,
                                      Case No. 2: 19-cv-04237 DDP (PJWx)
               3
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LAW OFFICES
ROSENFELD,
 MEYER &                                                4
SUSMAN LLP         15918·001000
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